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                         UNITED STATES DISTRICT COURT
                            Northern District of California

                                        CIVIL MINUTES


 Date: August 12, 2021               Time: 10:06 – 4:52           Judge: LAUREL BEELER
 Case No.: 3:12-cv-04854-LB          Case Name: Sidibe v. Sutter Health



Attorney for Plaintiffs:
Matthew Cantor, Jean Kim, Allen Steyer, David Goldstein, Suneel Jain, Henry Su, James Kovacs,
Paulette Rodriguez Lopez, Jill Manning, Scott Macrae, David Brownstein, Azra Mehdi
Attorney for Defendants:
Jeffrey LeVee, Robert Bunzel, Oliver Dunlap, David Kiernan, Rob Bunzel, Craig Stewart, Matt Silveira,
Elizabeth Burnside, Caroline Van Wagoner, Jeremy Kaufmann, Patrick Ryan, Patrick O’Shaughnessy

  Deputy Clerk: Elaine Kabiling                          Court Reporter: Kathleen Sullivan

                                         PROCEEDINGS

Final Pretrial Conference and Motions Hearing held.

Court and counsel are present by Zoom Webinar. Court and counsel discuss motions as set forth
on the record.

Matter is continued to Thursday, August 19, 2021 at 10:00 a.m. for Further Pretrial Conference
and Motions Hearing.




Order to be prepared by:
( )   Plaintiff                ( )     Defendant               ( )    Court
